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    and LSF9 Master Participation Trust

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

    JOHN R. SARRACCO,                                    HON. ESTHER SALAS, U.S.D.J.
                                                         Civil Action No. 2:1 6-cv-09 131 -ES-JAD
                      PLAINTiFF,
                                                                ORDER GRANTING
                                                           DEFENDANTS CALIBER HOME
    V.                                                     LOANS, INC. AND LSF9 MASTER
                                                             PARTICIPATION TRUST’S
                                                               MOTION TO DISMISS
    OCWEN LOAN SERVICING, LLC; CALIBER                        PLAINTWF’S AMENDED
    HOME LOANS, INC; PHELAN HALLINAN                       COMPLAINT WFFtt PREJUDICE
    DIAMOND & JONES PC; ONEWEST BANK                                     W
    FSB; LSF9 MASTER PARTICIPATION TRUST,
                                                              (Document Electronically Filed)

                       DEFENDANT.

           THIS MATTER having been opened to the Court by Day Pitney LLP, attorneys for

    defendants Caliber Home Loans, Inc. and LSF9 Master Participation Trust (“Defendants”), for an

    Order dismissing Plaintiff’s Amended Complaint with prcJJct; and the Court having considered
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    the papers filed in support and any-eppoitiou filcd theitj—and the Court having heard erl
    cv’.c1. Pi4v’4f WAv( VG- Opocec 4k vvO*QA
    argumont and good cause having been

            IT IS ON TEllS      p   DAY OF                 2017,

            ORDERED that Defendants’              to Dismiss Plaintiff’s Amended Complaint -with

    pcojudicc is hereby GRANTED; and

            IT IS FURTHER ORDERED that Plaintiffs claims against Defend.ants in the Amended

    Complamt are hereby dismissedit prejudice m their entirety; and

            IT IS FURTHER ORDERED that a true copy of this Order shall be served upon all parties

    within 5 days of the date hereof.




                                              ESTHER SALAS            .D.J.




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